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TA ENT A-STATE tT FACTS

The undersigned parties hereby stipulate and agree that if this case had proceeded to trial,
government would have proven the following facts beyond a reasonable doubt. The undersigned
parties also stipulate and agree that the following facts do not encompass all of the evidence that
would have been presented had this matter proceeded to trial.

At all times relevant to this case, defendant TROY WALKER, aka CAVEMAN
(“WALKER”) resided in Upper Marlboro, Maryland.

In March of 2012, A.G., a 17 year old female, was forced out of her home by her parents and
met WALKER through a friend who worked at “parties” hosted by WALKER. WALKER asked
A.G. to work for him at a “party” he was hosting. WALKER hosted parties through a company
called Quest For Fire. These parties were advertised as sex parties or “gang bangs” on
Backpage.com in the adult “escorts” section. Interested individuals would text WALKER at the
cellular phone number listed in the advertisement and WALKER would send the location of the
party back to them. At these parties, guests would pay for entry to a residence which would allow
them to engage in sexual acts with females provided by WALKER.

In August of 2012, WALKER rented and paid for an apartment for A.G. WALKER had
A.G. engage in sexual acts with men and women at his “gang bang parties.” A.G.’s photo was also
posted in advertisements for the parties on Backpage.com by WALKER. WALKER provided
transportation for A.G. to these parties, which included transportation from Washington, D.C. to
Maryland. A.G. would testify that on several occasions, WALKER engaged in physical altercations
with her.

A.G. worked at approximately seven parties for WALKER. The first party that A.G. worked
for WALKER was on April 1, 2012 and the last party was September 15, 2012. These parties were
hosted in Prince George’s County at multiple locations. At these parties, A.G. engaged in oral and
vaginal sex with clients. WALKER kept a portion of the proceeds made at these parties. A.G. was
17 years of age during the time period that A.G. worked at these parties for WALKER.

Ihave read this statement of facts, and carefully reviewed it with my attorney. I acknowledge
that it is true and correct. :
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Date Troy Walker /

 

 

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